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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                        PAUL SOMERS,
                                   7                                                        Case No. 14-cv-05180-EMC (KAW)
                                                        Plaintiff,
                                   8
                                                  v.                                        ORDER TERMINATING
                                   9                                                        DEFENDANTS' MOTION TO COMPEL
                                        DIGITAL REALTY TRUST INC, et al.,                   PLAINTIFF'S DEPOSITION AND
                                  10                                                        ORDERING PLAINTIFF'S
                                                        Defendants.                         DEPOSITION
                                  11
                                                                                            Re: Dkt. No. 121
                                  12
Northern District of California
 United States District Court




                                  13            On August 11, 2016, Defendants Digital Realty Trust and Ellen Jacobs filed a motion to

                                  14   compel Plaintiff Paul Somers's deposition. (Defs.' Mot., Dkt. No. 121.) Defendants' motion to

                                  15   compel does not comply with this Court's General Standing Order, available at

                                  16   http://cand.uscourts.gov/kaworders, which sets forth the manner and format in which parties are to

                                  17   present their discovery disputes to the Court. The Court therefore TERMINATES Defendants'

                                  18   motion to compel Plaintiff's deposition.

                                  19            The Court finds that Plaintiff has failed to comply with its July 8, 2016 Order requiring

                                  20   that Plaintiff make himself available for deposition within thirty days of the Order. (Dkt. No. 110

                                  21   at 2-3.) Plaintiff's objection to that portion of the Order was overruled by the presiding judge.

                                  22   (Dkt. No. 116 at 2.) Plaintiff's contention that he should be allowed to depose Digital Realty's

                                  23   Chief Investment Officer is not grounds for refusing to attend his own deposition. (See Plf.'s

                                  24   Opp'n, Dkt. No. 129.) The Court ORDERS Plaintiff to attend his deposition by September 26,

                                  25   2016. The parties shall meet and confer to select a mutually agreeable date; if the parties are

                                  26   ///

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                                   1   unable to agree, Plaintiff's deposition will take place on September 26, 2016. Failure to comply

                                   2   with this Order may result in the Court imposing sanctions.

                                   3          IT IS SO ORDERED.

                                   4   Dated: September 6, 2016
                                                                                           __________________________________
                                   5                                                       KANDIS A. WESTMORE
                                   6                                                       United States Magistrate Judge

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Northern District of California
 United States District Court




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